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1
                              UNITED STATES DISTRICT COURT
2                         EASTERN DISTRICT OF WASHINGTON
3    UNITED STATES OF AMERICA,                 )
                                               )    NO. CR-07-2063-LRS-2
4                      Plaintiff,              )
            v.                                 )    ORDER ON ARRAIGNMENT
5                                              )    AND ORDER GRANTING
                                               )    DEFENDANT’S MOTION TO MODIFY
6    MICHAEL BRIGGS,                           )    CONDITIONS OF RELEASE
                                               )    (Ct. Rec. 37)
7                      Defendant.              )
                                               )
8
9           This matter coming on for arraignment on indictment this 18th
10   day of May, 2007, the government was represented by James Hagarty,
11   Esq.    Defendant was present with counsel James Egan, Esq.
12          The Defendant was advised of his rights and acknowledged that
13   he understood those rights. Defendant also confirmed he signed a
14   written acknowledgment of rights after having read and understood
15   the same. The Defendant acknowledged receipt of a copy of the
16   indictment, and waived reading of the same.               The defendant further
17   acknowledged he understood the charges filed against him and the
18   maximum penalties that could be imposed.
19          A plea of not guilty was entered by the Court.
20          The Defendant made a motion to modify his conditions of
21   release to allow defendant to reside with his girlfriend, Crystal
22   Sanchez.    Ms. Sanchez would report to pretrial services regarding
23   Defendant’s compliance with the release conditions imposed by the
24   court.
25          After hearing argument from counsel and sworn testimony from
26   the defendant’s girlfriend, Crystal Sanchez, the Court granted the
27   defendant’s motion to modify his conditions of release. (Ct. Rec.
28   37)

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1         IT IS ORDERED,
          1.    That the Defendant on his plea of not guilty, is bound
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     over for trial before a District Court Judge.
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          2.    The Court’s prior Order of Release on Conditions,
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     provision number 4, is hereby modified as follows:               Defendant
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     shall reside with Crystal Sanchez.          Ms. Sanchez shall report any
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     violations of this Court’s Order of Release to pretrial services.
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     All other conditions remain as ordered.
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          3.    Upon receipt of A. O. Form 199C, the U.S. Marshall
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     shall release defendant from custody subject to the conditions
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     previously imposed and the condition modified in this order.
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          DATED this 18th day of May, 2007.
12
13                                                s/MICHAEL W. LEAVITT
                                             United States Magistrate Judge
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     ORDER ON ARRAIGNMENT- 2
